                          UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                                DURHAM DIVISION
                                File No. 1:22-CV-478

HAYDEN SCOTT ROSE,

                                      Plaintiff
                                                    JOINT LOCAL RULE 5.5 REPORT
                      v.

PRESQUE ISLE VILLAS
CONDOMINIUM HOMEOWNERS
ASSOCIATION, Inc., PRESQUE ISLE
VILLAS CONDOMINIUM
HOMEOWNERS ASSOCIATION, Inc.,
BOARD OF DIRECTORS, COMMUNITY
ASSOCIATION MANAGEMENT, Ltd.,
and BAGWELL HOLT SMITH, P. A.,

                                  Defendants


        JOINT L.R. 5.5 REPORT FOR THE FILING OF SEALED DOCUMENTS

[ ] Conference: The parties have discussed the issues of confidentiality raised in this
case and the potential need for filing documents under seal. That discussion included the nature
of any confidential documents that may be involved in the case, the possibility of using
stipulations to avoid the need to file certain documents, and the possibility of agreed-upon
redactions of immaterial confidential information in filings to avoid the need for filing
documents under seal.

[ ] Non-Parties: Because a non-party has produced documents pursuant to a
protective order or is otherwise claiming confidentiality over documents filed or expected
to be filed in this case, the conference included _______________________________
(identify non-party).

[X]     Default: The parties certify that few, if any, documents will be filed under seal.
The parties agree to use the default procedures of LR 5.4(c). In addition, if the party filing the
motion to seal is not the party claiming confidentiality, the filing party must meet and confer
with the party claiming confidentiality as soon as practicable, but at least two (2) days before
filing the documents, to discuss narrowing the claim of confidentiality. The motion to seal must
certify that the required conference has occurred, and the party claiming confidentiality must
file supporting materials required by LR 5.4(c)(3) within 14 days of the motion to seal.


       Case 1:22-cv-00478-WO-JEP Document 17 Filed 09/19/22 Page 1 of 2
[   ]   Alternative Proposal for Cases with Many Confidential Documents.
        In order to address claims of confidentiality and reduce the need to file briefs and
exhibits under seal, the parties propose the alternative procedure set out in the attached proposal,
either jointly or as competing alternatives, for consideration by the Court.

[]      Other relevant information: One Defendant in this case is a law firm. Parties anticipate
that some discovery may require sealed documents and/or a protective order due to the nature of
the case.



Respectfully Submitted,


By: /s/ M. Shane Perry                        By: /s/ Bridget L. Baranyai
M. Shane Perry, Esquire                       Bridget L. Baranyai, Esquire
NC I.D. #35498                                NC I.D. #37588
Collum & Perry                                bbaranyai@dmclaw.com
109 West Statesville Avenue                   Michele F. Eagle, Esquire
Mooresville, NC 28115                         NC I.D. #33928
(704)-663-4187                                meagle@dmclaw.com
shane@collumperry.com                         Dickie, McCamey & Chilcote, P.C.
Counsel for Plaintiff                         2101 Rexford Road, Suite 250E
                                              Charlotte, NC 28211-3463
                                              (704)-998-5184
                                              Counsel for Defendants
                                              Presque Isle Villas Condominium Homeowners
                                              Association, Inc., Presque Isle Villas Condominium
                                              Homeowners Association, Inc., Board of Directors,
                                              and Community Association Management, Ltd.,


By: /s/ Russell M. Racine
Russell M. Racine, Esquire
NC I.D. #33593
Cranfill Sumner, LLP
2907 Providence Road, #200
Charlotte, NC 28211
(704)-332-8300
rracine@cshlaw.com
Counsel for Defendant
Bagwell Holt Smith, P.A.




        Case 1:22-cv-00478-WO-JEP Document 17 Filed 09/19/22 Page 2 of 2
